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                                BEFORE THE UNITED STATES
                                   JUDICIAL PANEL ON
                                MULTIDISTRICT LITIGATION

IN RE: ROUNDUP                                    §          MDL NO. 2741
PRODUCTS LIABILITY                                §
LITIGATION                                        §

                   MOTION TO TRANSFER GILMORE V. MONSANTO TO
                        MDL 2741 PURSUANT TO 28 USC § 1407

        Pursuant to 28 U.S.C. § 1407 and Rules 7.1(b)(i) and 6.1 of the Rules of Procedure for the

United States Judicial Panel on Multidistrict Litigation, Movant Brian Webb respectfully moves

this Panel for an order transferring Gilmore v Monsanto Co. to MDL 2741 and would respectfully

show as follows:

        1.      Gilmore v. Monsanto Co., No. 1:20-cv-01085-MN is an action currently pending

in the United States District Court for the District of Delaware.

        2.      Movant filed a Notice of Potential Tag-Along Action in MDL 2741 on July 15,

2021. Dkt. 2381.

        3.      The Clerk of the Panel determined Gilmore was not appropriate for inclusion in the

MDL. Dkt. 2384

        4.      Transfer of Gilmore action to MDL 2741 is appropriate for the reasons more fully

articulated in the attached brief.

        WHEREFORE, Movant respectfully requests that this Panel issue an order transferring the

Gilmore action to the Northern District of California for inclusion in MDL No. 2741 before the

Honorable Vince Chhabria.

Dated: July 28, 2021                          Respectfully Submitted,

                                              /s/ N. Majed Nachawati
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                          Fears Nachawati, PLLC is counsel of record for
                          Movant Brian Webb




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